Case 1:O4-cr-10098-SHI\/| Document 16 Filed 07/20/05 Page 1 of 2 Page|D 18

IN THE UNITED sTATEs DISTRICT coURT ""§LH” Am’ @»C.
FoR THE WESTERN DISTRICT oF TENNESSEE 535 w lt 2 w
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UNITED STATES OF AMERICA liv?`@ l,`t
V. 04-1 0098-01-T
TERRY DICKERSON
ORDER ON ARRAIGNMENT
This cause came to be heard on 970 52005' , the United States Attorney
for this district appeared on behalf of the ve ent, and the defendant appeared in person and With
counsel:

NAME Z{¢(/&»(, /SN-»AZMI(/ Who is Retained/Appointed.

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

 

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

/ The defendant, Who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

UNITED STATES MAGISTRATE JUDGE

 

CHARGES: controlled substance...;

U. S. Attorney assigned to Case: J. Kitchen

Age: 3&

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Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case l:04-CR-10098 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

Blake Ballin

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Honorable J ames Todd
US DISTRICT COURT

